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                            UNITED STATED DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                             MINUTES OF PROCEEDINGS


OFFICE: TRENTON                                        DATE: April 21, 2021

JUDGE: PETER G. SHERIDAN

COURT REPORTER:       FRANK GABLE

                                                       Docket # Cr. 21—329- (01) (PGS)
TITLE OF CASE:
UNITED STATES OF AMERICA

             vs.
BERNARD E. LOPEZ

            PRESENT

APPEARANCE:

PERRY FARHAT, AUSA for Government

NICOLE WESTMORELAND, Esq. for Defendant

NATURE OF PROCEEDINGS: INITIAL APPEARANCE! WAIVER OF INDICTMENT
All parties, including Defendant, were present via videoconference.
Defendant’s consent for plea to be held via videoconference.
Order regarding use of videoconference in accordance with Standing Order 2021-04 to be
filed.
Ordered deft. affirm; deft. affirm.
Initial appearance held.
Defendant advised of his!her rights, charges and penalties.
Waiver of indictment and Venue executed and filed.
INFORMATION filed.
PLEA:      GUILTY to Count One and Two of the Information.
Terms of plea agreement read into the record.
Ordered plea agreement approved and accepted.
Rule 11 and Plea Agreement filed.
Ordered sentencing set for October 6, 2021 at 11:00 AM.
Ordered bail continued.


Time commenced:     1:15 PM
Time Adjourned:     2:15 PM
Total Time:         1:00

                                                        DOLORES J. HICKS!
                                                        DEPUTY CLERK
